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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

      UNITED STATES OF AMERICA

      v.                                                          Case No. 1:21-cr-78-RCL

      JOHN EARLE SULLIVAN,

              Defendant.


                                       MEMORANDUM OPINION

             As part of his sentence for his role in the Capitol Riots of January 6, 2021, defendant John

     Earle Sullivan forfeited $62,813.76 that he accrued by selling footage of that day’s events. While

     his conviction was pending appeal before the D.C. Circuit, Mr. Sullivan received a Presidential

     pardon, and his convictions were subsequently vacated. He now seeks to recover these forfeited

     funds, which are being held in a deposit account in the United States Treasury.

             Then-interim U.S. Attorney for the District of Columbia Edward Martin agreed that Mr.

     Sullivan is entitled to the return of these funds, and maintained that the Government possesses the

     authority to disburse them. However, the Appropriations Clause of the Constitution forbids doing

     so. For the reasons that follow, the Court will DENY Mr. Sullivan’s Motion and ORDER the

     Government not to disburse his funds absent a duly enacted Congressional appropriation.

I.         BACKGROUND

             Defendant John Earle Sullivan participated in the Capitol Riots of January 6, 2021. His

     motives for participating in the riots were, to put it gently, idiosyncratic. As the Court found from

     the evidence adduced at trial and recounted at his sentencing, Mr. Sullivan was unlike many other

     rioters insofar as he was not motivated by a belief that the 2020 Presidential election was rigged

     or stolen: “Some [January 6 defendants] started out with innocent intentions but got swept up in

     the moment. Others sought to use violence to achieve specific political ends. But for Mr. Sullivan,


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violence was an end [un]to itself.” Sent. Tr. at 31:16–19, ECF No. 158. For instance, when some

other rioters encouraged the mob to act peacefully, he loudly shot down their suggestion and

encouraged the use of violence instead, and repeatedly let other rioters know that he had brought

a knife with him. Id. at 32:21–33:7; see also Trial Tr. Nov. 13, 2023, at 39:10, ECF No. 135.

         Mr. Sullivan callously used the riots as an opportunity for personal profit, manipulating

other rioters for his own gain. Under the pretense of “journalism,” he recorded the day’s events,

intending to sell the footage for profit. At one point during the day, another rioter captured Mr.

Sullivan on camera speaking with surprisingly candid disdain for the other rioters: “I brought my

megaphone to instigate shit . . . I’m gonna make these Trump supporters f— all this shit up . . .

Trust me when I say my footage is worth like . . . millions of dollars.” Opp’n to Mot. for Release

of Funds 8, ECF No. 291; see also Trial Tr. Nov. 14, 2023, at 29:24 (Mr. Sullivan “called around

to shop the footage to various media outlets” and “wanted to sell” it).

         Mr. Sullivan cynically and falsely portrayed himself as a journalist not only to legitimize

his cruel profiteering—at the expense of the police, his fellow rioters, and his country—but also

in hopes of evading legal accountability for his actions. Indeed, he all but admitted his intended

ploy in a video that he took the day before the Riots: “I think I made up, uh—what did I say I was?

Oh yeah, I was just a journalist, but I use that all the time.” Opp’n to Mot. for Release of Funds at

81; see also Trial Tr. Nov. 15, 2023, at 47:21 (discussing a video recording in which Mr. Sullivan

stated that he did not consider himself a journalist). He later remarked that he attended the Capitol

Riots posing as a journalist so that, in his own words, “I don’t get arrested.” Sent’g Tr. at 33:16;

see also Trial Tr. Nov. 15, 2023, at 93:4, ECF No. 138.


1
 These quotations, and one on the following page, derive from the Government’s opposition to Mr. Sullivan’s Motion
for Release of Funds, which he filed in May of 2021. See Mot. for Release of Funds, ECF No. 25. Mr. Sullivan’s
reply brief in support of that motion does not dispute these quotations’ veracity or their attribution to him, so the Court
considers their accuracy to be conceded. See generally Reply in Support of Mot. for Release of Funds, ECF No. 31.



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       Most notably, in footage that the Court has seen, Mr. Sullivan at one point encouraged

rioters to break down the Speaker’s Lobby doors. Eventually, the rioters broke a glass pane in one

of those doors. Spurred on by Mr. Sullivan incitements, and despite the warnings of the police, a

rioter named Ashli Babbitt began climbing through the pane with a folding knife in her pocket.

Perceiving an imminent threat to the lawmakers and staff inside, a Capitol Police officer shot and

killed her. Mr. Sullivan captured the entire horrific incident on video, and later sold this and other

footage for a tidy sum of over $90,000. Sent’g Tr. at 33:8–16; see Forfeiture Allegation,

Superseding Indictment at 5, ECF No. 56. Mr. Sullivan was perfectly content to see his fellow

rioters get arrested, beaten, or worse, so long as he escaped unscathed and with cash lining his

pockets. In a recording by another individual, Mr. Sullivan is heard celebrating that he had

captured Ms. Babbitt’s death, proclaiming: “Everybody’s gonna want this [footage]. Nobody has

it. I’m selling it, I could make millions of dollars.” Opp’n to Mot. for Release of Funds at 8.

       On April 29, 2021, pursuant to two warrants issued by a magistrate judge, the Government

seized $62,813.76 from Mr. Sullivan’s bank account attributable to his sale of the Capitol Riots

footage. See Def.’s Mot. for Release of Funds 2, ECF No. 25; Opp’n to Mot. for Release of Funds

at 10. On November 16, 2023, a jury convicted Mr. Sullivan on all counts of a seven-count

indictment. Verdict Form, ECF No. 126. On April 26, 2024, this Court delivered Mr. Sullivan’s

sentence, which included the forfeiture of the ill-gotten proceeds taken from his bank account and

Venmo wallet. See Judgment at 8, ECF No. 153. Mr. Sullivan appealed, and while that appeal

was pending, he received a Presidential pardon. Proclamation No. 10887, 90 Fed. Reg. 8331 (Jan.

20, 2025). As a result, the D.C. Circuit vacated this Court’s judgment and remanded with

instructions to dismiss the case as moot, which this Court subsequently did. See U.S. Court of

Appeals Order of February 27, 2025, ECF No. 163-1; Order of March 4, 2025, ECF No. 164.




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             On March 15, 2025, Mr. Sullivan filed a motion for the return of his forfeited assets. See

      Mot. for Return of All Assets Seized During Arrest, ECF No. 165. On April 11, 2025, the

      Government responded to Mr. Sullivan’s Motion, indicating that it did not oppose the relief that

      Mr. Sullivan sought and intended to remit the forfeited funds back to him. See Gov’s Resp. 2,

      ECF No. 168. The Court, however, registered its belief—further explored and confirmed in this

      Opinion—that funds may not be drawn from the United States Treasury without a Congressional

      appropriation, even in the event of a pardon. See Order of April 12, 2025, at 2, ECF No. 169. The

      Court therefore ordered the Government to refrain from disbursing the forfeited funds pending

      further order of the Court, and also ordered the Government to file a supplemental notice about

      the location and custody of the funds taken from Mr. Sullivan’s bank and Venmo accounts. Id. at

      3. On April 15, 2025, the Government filed its supplemental notice, revealing that the forfeited

      funds have been stored since December 27, 2023 in the United States Marshals Service’s Seized

      Asset Deposit Fund (“SADF”), a deposit account in the United States Treasury. See Gov’s Suppl.

      Notice 2, ECF No. 170. The Government continues to maintain, however, that the Court may—

      indeed, must—authorize the return of those assets to Mr. Sullivan.

II.      KNOTE v. UNITED STATES DICTATES THAT MR. SULLIVAN’S FUNDS CANNOT
         BE RETURNED WITHOUT A CONGRESSIONAL APPROPRIATION.

             There are two candidates for which Supreme Court case controls the outcome of this

      proceeding: Knote v. United States, 95 U.S. (5 Otto) 149 (1877), and Nelson v. Colorado, 581 U.S.

      128 (2017). The Government urges that the latter controls. The Court disagrees.

             Knote concerned a supporter of the Confederacy whose property in West Virginia had been

      confiscated in connection with charges of treason and rebellion levied against him. Knote, 95 U.S.

      at 149. A federal court ordered that this property be sold, yielding proceeds of $11,000, which

      were paid into the United States Treasury. Id. at 149, 152. After receiving a pardon from President



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Johnson, the litigant argued that he was entitled to the proceeds from the sale of his condemned

property. Id. at 150. The Supreme Court ruled against him, holding that a pardon does not

               affect any rights which have vested in others directly by the
               execution of the judgment for the offence, or which have been
               acquired by others whilst that judgment was in force. . . . [I]f the
               proceeds have been paid into the treasury, the right to them has so
               far become vested in the United States that they can only be secured
               to the former owner of the property through an act of Congress.
               Moneys once in the treasury can only be withdrawn by an
               appropriation by law. However large, therefore, may be the power
               of pardon possessed by the President, and however extended may be
               its application, there is this limit to it, as there is to all his powers,—
               it cannot touch moneys in the treasury of the United States, except
               expressly authorized by act of Congress. . . . Where, however,
               property condemned, or its proceeds, have not thus vested, but
               remain under control of the Executive, or of officers subject to his
               orders, or are in the custody of the judicial tribunals, the property
               will be restored or its proceeds delivered to the original owner, upon
               his full pardon. The property and the proceeds are not considered
               as so absolutely vesting in third parties or in the United States as to
               be unaffected by the pardon until they have passed out of the
               jurisdiction of the officer or tribunal.

       Id. at 149, 154 (emphasis added). Though Knote is now nearly 150 years old, the Supreme

Court reaffirmed the validity of this holding in more recent years. See, e.g., Off. of Pers. Mgmt. v.

Richmond, 496 U.S. 414, 425–26 (1990) (quoting Knote and noting that “the pardon power cannot

override the command of the Appropriations Clause”). The Court of Appeals for the D.C. Circuit

has applied Knote as recently as 1994. See In re North, 62 F.3d 1434, 1435–36 (D.C. Cir. 1994)

(Sentelle, J.) (holding that “the Constitution [and] Knote . . . forbid” the court from “authoriz[ing]

payment from the Treasury” to a pardon recipient without “congressional authorization”). And

other Circuit Courts of Appeals have continued to apply it within the last couple of years. See,

e.g., Boultbee v. United States, No. 2024-2260, 2025 WL 1077679, at *2 (Fed. Cir. Apr. 10, 2025)

(“Pardons . . . cannot restore money transferred to the U.S. Treasury, ‘except expressly authorized

by act of Congress.’”) (quoting Knote, 95 U.S. at 154); CFPB v. Law Offs. of Crystal Moroney,



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P.C., 63 F.4th 174, 182 (2d Cir. 2023) (citing Knote for the proposition that payments from the

Treasury require statutory authorization); Fordham v. Ga. Dep’t of Admin. Servs., No. 23-11214,

2023 WL 5747709, at *2 (11th Cir. Sept. 6, 2023) (“Though a pardon ‘releases the offender from

the consequences of his offence,’ including asset forfeiture,” nevertheless “a pardon does not affect

any property rights ‘vested in others directly by the execution of the judgment for the offence, or

which have been acquired by others whilst that judgment was in force’”) (first quoting Osborn v.

United States, 91 U.S. 474, 477 (1875), and then quoting Knote, 95 U.S. at 154).2

        Nelson, the more recent case on which the Government relies, arose under very different

circumstances. The named petitioner in that case was convicted by jury in a Colorado state court

of physically and sexually abusing her children, and was ordered to pay over $8,000 in costs, fees,

and restitution in addition to her prison sentence. Nelson, 581 U.S. at 131. Her conviction was

reversed due to a trial error, and she was acquitted upon retrial. Id. The other petitioner in that

case was convicted of attempting to patronize a child prostitute and attempted sexual assault. Id.

He, too, was ordered to pay over $4,000 in costs, fees, and restitution. Id. One of his convictions

was reversed by the Colorado Supreme Court on appeal, whereas the other was vacated by a

Colorado state postconviction court. Id. Both petitioners moved for a return of the funds that they

had thus far paid due to their erstwhile convictions. Id. at 132. However, the courts of Colorado

denied their requests because a Colorado statute, the Exoneration Act, required a petitioner to

prove his or her actual innocence by clear and convincing evidence before such assets could be

recouped. Id. at 133–34. The United States Supreme Court determined that the Exoneration Act’s

reimbursement scheme was incompatible with the Due Process Clause of the Fourteenth


2
  For examples of other Circuit Courts of Appeals that have recently relied on Knote, though somewhat less recently
than the ones cited above, see, e.g., Flick v. Liberty Mut. Fire Ins. Co., 205 F.3d 386, 391 (9th Cir. 2000), and PA
Prison Soc’y v. Cortes, 622 F.3d 215, 243 (3d Cir. 2010). See also Yasak v. Ret. Bd. of Policemen’s Annuity and
Benefit Fund of Chi., 357 F.3d 677, 683–84 (7th Cir. 2004) (Ripple, J., dissenting).



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Amendment, in part because “an invalid conviction is no conviction at all,” and thus Colorado had

no cognizable interest in “withholding from [the petitioners] money to which the State currently

has zero claim of right.” Id. at 136 n.10, 139 (quotation omitted). The Court concluded that “[t]o

comport with due process, a State may not impose anything more than minimal procedures on the

refund of exactions dependent upon a conviction subsequently invalidated.” Id. at 139.

         The Government contends that Nelson controls because “[Mr.] Sullivan’s convictions,”

like those in Nelson but unlike that in Knote, “were not yet final” at the time of his pardon, and

were “vacated on direct appeal.” Gov’s Resp. at 2. At least one court has seemingly endorsed this

argument. See Boultbee v. United States, No. 23-1884, 2024 WL 3220261, at *4 (Fed. Cl. June

27, 2024) (distinguishing Nelson from Knote on the basis that “Nelson involved individuals whose

convictions were invalidated on appellate review, not pardons.”), aff’d, 2025 WL 1077679 (Fed.

Cir. Apr. 10, 2024).3

         Respectfully, although the Government and the Court of Federal Claims have correctly

identified a difference between Knote and Nelson, they have both misdiagnosed the real operative

difference between them.4 Nelson, at bottom, is a case about the Due Process Clause of the

Fourteenth Amendment and its supremacy over contradictory state law. At a high level of

abstraction, it stands for the proposition that the several states may not erect procedural barriers

that violate the federal Constitution’s guarantee of due process. Accordingly, a state may not

require a person whose presumption of innocence has been restored by the vacatur of his


3
 Although the Court of Appeals for the Federal Circuit affirmed this opinion of the Court of Federal Claims, it bears
mention that the Federal Circuit’s opinion did not mention Nelson, much less address the Knote / Nelson distinction.
4
  It bears mention as well that the D.C. Circuit has applied Knote in a case where the defendant’s conviction was not
yet final at the time of his pardon. See In re North, 62 F.3d at 1435 (pardon issued “after the jury verdict but before
judgment of conviction was entered”). In re North preceded Nelson by more than thirty years, but at least one other
federal court has approvingly cited Knote’s Appropriations Clause holding in the few years since Nelson. See United
States v. Carter, No. 16-200032-02-JAR, 2020 WL 430739, at *3 n.12 (D. Kan. Jan. 28, 2020) (Robinson, C.J.). The
Court is aware of no authority for the proposition that Nelson partially abrogated or otherwise narrowed Knote.



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conviction(s) to prove his innocence in order to recoup his forfeited property. The facts of Nelson,

of course, did not implicate the federal Constitution’s Appropriations Clause in any way

whatsoever, because none of the petitioners’ disputed funds were held in the federal Treasury.

         Knote, on the other hand, is not about due process; indeed, neither the word “due” nor

“process” appears even once in the opinion. And that stands to reason: Unlike Colorado had done

with its Exoneration Act, the federal government in Knote did not enact any procedural obstacles

or evidentiary hurdles whatsoever to the disbursement of Knote’s proceeds. The only obstacle to

repayment was the Appropriations Clause itself which, according to Knote, demands that funds

may not leave the Treasury absent an appropriation.5

         The instant case is materially identical to Knote. Mr. Sullivan’s forfeited funds “passed

out of the jurisdiction of the officer” (that is, the FBI) and the “tribunal” (that is, the Court) on

December 7, 2023, when the FBI released them by cashier’s check to the Marshals Service’s SADF

account, Gov’s Suppl. Notice at 1, and “vested in the United States” with their deposit into the

Treasury. Knote, 95 U.S. at 154. That being so, and contrary to the Government’s position, it is

irrelevant whether Mr. Sullivan’s convictions were vitiated by pardon, vacatur on appeal, collateral

attack, retroactive Congressional enactment, or any other means. All that matters is that funds

may not be drawn from the Treasury without an appropriation, plain and simple. See Republic

Nat’l Bank of Miami v. United States, 506 U.S. 80, 94 (1992) (Rehnquist, C.J.) (“[T]he principle

that once funds are deposited into the Treasury, they become public money—and thus may only

be paid out pursuant to a statutory appropriation—would seem to transcend the facts of Knote.”)


5
  Neither the Government nor Mr. Sullivan has gone so far as to argue that the Appropriations Clause itself violates
the Fourteenth Amendment’s Due Process Clause as applied to the facts of this case. But suppose, hypothetically,
that the federal government enacted an appropriation statute allowing for the refund of forfeited property held in the
Treasury, but only if the defendant could prove his actual innocence by clear and convincing evidence. Such a case
might fall somewhere between Knote and Nelson, and might raise thorny questions about the interaction between the
Due Process Clause of the Fifth Amendment and the Appropriations Clause–questions which are not presented herein.



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         The Government gestures to two cases in which the First and Fourth Circuits, relying on

Nelson, held that special assessments, restitution, and forfeiture orders must be vacated if the

defendant’s conviction is abated due to death pending appeal. See United States v. Reynolds, 98

F.4th 62, 72 (1st Cir. 2024); United States v. Ajrawat, 738 Fed. App’x 136, 139 (4th Cir. 2018)

(“When the underlying conviction is invalidated—regardless of the reason—there is no longer any

basis justifying the government’s retaining funds exacted only as a result of that conviction.”).

The Court is aware of a handful of other cases reaching the same conclusion. See, e.g., United

States v. Brooks, 872 F.3d 78, 89 (2d Cir. 2017); United States v. Libous, 858 F.3d 64, 67 (2d Cir.

2017) (“[I]n our system of criminal justice, the state is not permitted to charge the accused for the

privilege of having been prosecuted.”); United States v. Coddington, 802 Fed. App’x 373, 375

(10th Cir. 2020). These cases, however, are inapposite. Not a single one of these cases confronts

the Appropriations Clause implications of its decision: none of them discusses Knote or its progeny

in any capacity, nor do any of them so much as mention whether the disputed funds were held in

the United States Treasury.6 Unlike in the case at hand, these issues were evidently not presented.

         At the very most, these abatement cases stand for the proposition that the financial penalties

associated with a conviction must disappear as a formal matter when the underlying conviction

disappears. Even assuming that this principle is correct, it means only that, in the abstract, Mr.

Sullivan is entitled to his forfeited funds as a matter of right. But Mr. Sullivan’s motion raises a

wholly distinct question, not of right, but of remedy: Assuming for sake of argument that Mr.

Sullivan is entitled to funds currently held in the Treasury, can this Court authorize the return of


6
  Reynolds comes closest to confronting the issues raised by Knote. After concluding that the defendant’s financial
penalties should be abated, the Court noted that it took “no position on whether the different considerations that might
arise where forfeited property had been distributed to victims before a defendant’s death would call for a different
result . . . .” Reynolds, 98 F.4th at 72. In this Court’s view, Knote furnishes the answer to this unexplored question:
Funds exacted pursuant to a now-vacated conviction may not be returned to the defendant once the rights therein have
vested in either a third party or the Treasury, drawing no distinction between the two. 149 U.S. at 154.



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       those funds without a Congressional appropriation? Alternatively, can the Government draw those

       funds from the Treasury without such an appropriation? The answer in both cases is a resounding

       “no”: the Appropriations Clause, as interpreted in Knote, plainly forbids either course of action.

III.      MR. SULLIVAN’S FORFEITED                        FUNDS        ARE      SUBJECT        TO      THE
          APPROPRIATIONS CLAUSE

          A. The Court Will Not Recognize an Exemption for Non- or Quasi-Public Money

              The Government next urges that, even if the Knote framework applies, the funds are

       nevertheless disbursable without a Congressional appropriation because they remain “practically

       speaking” in the custody of the U.S. Marshals Service. Gov’s Resp. at 3. The Government cites

       DOJ forfeiture regulations stating that “[a]ll property seized for forfeiture by . . . [the] FBI shall

       be delivered to the custody of the U.S. Marshals Service (USMS),” including such currency as

       may be deposited “in the seized Asset Deposit Fund pending forfeiture . . . .” 28 C.F.R. § 8.5(a),

       (b) (emphasis added). The Government further points to a DOJ webpage which states that “Funds

       in the SADF are not the property of the Federal government . . . .” Dep’t of Just., Asset Forfeiture

       Management Staff, https://www.justice.gov/jmd/afms [https://perma.cc/XN4Q-QEFY]. And the

       Government adds that funds in the SADF, unlike those held in the DOJ’s Assets Forfeiture Fund,

       are not ordinarily obligated to fund routine DOJ activities. Gov’s Resp. at 4 n.2.

              The Court rejects this invitation to endorse a legal fiction whereby some funds that are

       indisputably in the Treasury are considered not to be so for Appropriations Clause purposes. The

       Appropriations Clause, and the coupled Statement and Account Clause, read together as follows:

                      “No Money shall be drawn from the Treasury, but in Consequence
                      of Appropriations made by Law; and a regular Statement and
                      Account of the Receipts and Expenditures of all public Money shall
                      be published from time to time.”

       U.S. Const. art. I, § 9, cl. 7. The Appropriations Clause’s language contains no qualifications: It

       says “No Money,” not “No Money that is the property of the Federal Government” or “No Money,


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except that owing to a not-yet-final conviction.” Moreover, the Statement and Account Clause

refers to “public Money,” but the Appropriations Clause refers only to “Money.” This difference

suggests that, even if the Framers contemplated some distinction between funds belonging to the

United States and monies that are “practically speaking” in the custody of another entity (and thus

not “public”), such a distinction is irrelevant for Appropriations Clause purposes. Indeed, a six-

Justice majority of the Supreme Court, confronted with a similar suggestion, expressed “difficulty

accepting the proposition that funds which have been deposited into the Treasury are not public

money, regardless of whether the Government’s ownership of those funds is disputed.” Republic

Nat’l Bank, 506 U.S. at 93 (Rehnquist, C.J.).7 Absent a persuasive textual justification, this Court

will not embrace a novel Appropriations Clause theory that the Supreme Court has all but shunned.

         Money is money, the Treasury is the Treasury, and the Constitution says what it says: Once

money is in the Treasury, it can only be withdrawn pursuant to a Congressional appropriation. The

fact that the DOJ says that certain funds in the Treasury are not the property of the United States,

and therefore not subject to the strictures of the Appropriations Clause, does not make it so.8, 9


7
  Furthermore, it strikes the Court as significant that Justice Blackmun’s separate opinion in Republic National Bank
received the assent of eight Justices, except for the portion in which he theorized that “funds held in the Treasury
during the course of an ongoing in rem forfeiture proceeding” could not “properly be considered public money,” which
received the support of only three. Id. at 91–92.
8
  The Court is aware that under certain circumstances funds have been informally withdrawn from the Treasury, as in
the case of “overpayment of federal income taxes” which some posit may be “refunded without appropriation,” or
“funds held by the United States in escrow or in other trust arrangements in the course of litigation.” Kate Stith,
Congress’ Power of the Purse, 97 Yale L.J. 1343, 1358 & n.67 (1988). The legality of these withdrawals is not before
the Court. Perhaps some of these run-of-the-mill withdrawals are covered by an appropriation statute. See, e.g., id.
(noting that “Congress has enacted a permanent appropriation for refund of amounts erroneously deposited to the
Government,” but arguing that such withdrawals could legally take place even if Congress had not enacted that
statute). Or perhaps those withdrawals which are not covered by an appropriation statute are actually unlawful. That
issue is not before the Court, so the Court expresses no opinion on it; it suffices to say that the return of forfeited funds
stored in the Treasury requires an appropriation. Lest the Court be accused of embracing a fringe theory of the
Appropriations Clause, it bears mention that this holding is consistent with the understanding of this Court’s Finance
Office and official guidance from the Office of General Counsel for the Administrative Office of the U.S. Courts. See
Notice of Suppl. Ex. at 3, United States v. Vargas, No. 21-cr-47-RDM (Apr. 22, 2025), ECF No. 108-1.
9
 This strict reading of Knote may appear harsh on its face, and struck Justice Blackmun’s Republic National Bank
minority as “unrealistic” and potentially even “absurd.” 506 U.S. at 90–92. But the political branches could take any



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    B. The Court Is Unaware of Any Appropriation Statute That Would Allow Disbursal of

         Mr. Sullivan’s Forfeited Funds

         Because the Appropriations Clause applies to Mr. Sullivan’s forfeited monies, they may

be returned to him only if Congress has authorized their return by law. The Government does not,

however, identify any statute potentially having that effect. Indeed, their only mention of any

appropriation statute comes in a passing reference to Republic National Bank, in which Chief

Justice Rehnquist discerned an appropriation from the interplay between three statutory provisions:

31 U.S.C. § 1304 authorizes the payment of “final judgments” where “payment is not otherwise

provided for” and “the judgment . . . is payable under” any of several statutes, including 28 U.S.C.

§ 2414, which authorizes the payment of “final judgments rendered by a district court . . . against

the United States . . . .” Republic Nat’l Bank, 506 U.S. at 95. And 28 U.S.C. § 2465(a) further

provides that “[u]pon the entry of judgment for the claimant in any proceeding to condemn or

forfeit property seized or arrested under any provision of Federal law . . . such property shall be

returned forthwith to the claimant or his agent . . . .”

         These statutes, however, afford no relief to Mr. Sullivan: Though he may have been

pardoned, and his convictions may have been vacated, he has not been awarded anything

resembling a “final judgment[] . . . against the United States.” It is axiomatic that “a pardon does



of several different steps to facilitate the recovery of financial penalties by defendants whose convictions have been
vacated. Of course, Congress could enact an appropriation statute providing for the return of assets that are held in
the Treasury and which have not been disbursed to third parties, i.e. victims. Alternatively, arrangements could be
made such that forfeited funds remain in the custody of the courts until a conviction becomes final, or that such funds
remain in the custody of the relevant law enforcement agency in a non-Treasury account. In fact, based on the
Government’s representations, it appears that Mr. Sullivan’s funds were held by the FBI—impliedly in an account not
located within the Treasury—for more than two and a half years from the time of their initial seizure until after his
conviction. Gov’s Resp. at 1. Indeed, Knote itself discusses a viable alternative arrangement. See 95 U.S. at 155
(recounting that the Secretary of the Treasury asked the Attorney General whether “proceeds of [a] forfeiture deposited
by the marshal in one of the public depositories to the credit of the United States, but not brought into the treasury by
a covering warrant,” could be refunded without an appropriation, which the Attorney General answered in the
affirmative). In any case, the courts’ duty to read the law “as written” outweighs the consideration of “consequentialist
argument[s]” to the contrary. Cf. Turkiye Halk Bankasi A.S. v. United States, 598 U.S. 264, 279 (2023).



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